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                                                                   January 16, 2025
VIA ECF
Honorable Michael A. Hammer
United States District Court for the
  District of New Jersey
Martin Luther King Courthouse
50 Walnut Street Room 2C
Newark, NJ 07101

       Re:     United States v. Matthew Goettsche, et al., 19-CR-877 (CCC)
               Proposed Modification of Pretrial Release Order

Dear Judge Hammer:

       Please accept this letter in lieu of a more formal motion on behalf of Defendant Matthew
Goettsche. We respectfully move for leave of the Court to permit Mr. Goettsche to temporarily
remove the lien on 4734 Essex Court, Boulder, CO 80301 (the “Essex Court House”) for an
additional (90) days to allow Victoria Landerman, the owner of Essex Court House, to sell the
house to a confirmed buyer. The Court had previously allowed the removal of the lien on the
Essex Court House for this same purpose, but a buyer had not been found (Dkts. 195, 368).

        As set forth in the Release Order (Dkt. 171), the Court accepted the Essex Court House
along with eight other U.S. properties, collectively worth approximately $8,600,000.00, to
partially secure the $20,000,000.00 bond. The estimated equity in the Essex Court House is
approximately $600,000.00. Upon the anticipated sale of the Essex Court House, the sale
proceeds will be wired directly to Ms. Landerman for her personal use.

       Pretrial Services has no objection to the proposed modification, and the government,
through AUSA Anthony Torntore, consents to our requested modification.


                                                           Respectfully submitted,

                                                           /s/ Rodney Villazor

                                                           Rodney Villazor, Esq.
                                                           CLARK SMITH VILLAZOR LLP
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cc:   Matthew Menchel, Esq.
      Sean Buckley, Esq.
      Carolina Leung, Esq.
      Government counsel of record (via ECF and e-mail)
      U.S. Pretrial Services Officer David Hernandez (via e-mail)
      U.S. Pretrial Services Officer Troy Ruplinger (via e-mail)
